   Case: 1:15-cr-00260 Document #: 262 Filed: 09/06/18 Page 1 of 3 PageID #:2268



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )      No. 15 CR 260-2
                                               )
                                               )      Judge Jorge L. Alonso
RODERICK GROETZINGER                           )

                    MOTION OF THE UNITED STATES FOR ENTRY OF
                       PRELIMINARY ORDER OF FORFEITURE

        The United States of America, through JOHN R. LAUSCH, JR., United States Attorney

for the Northern District of Illinois, moves for entry of a preliminary order of forfeiture as to

specific property pursuant to the provisions of Title 18, United States Code, Section 981(a)(1)(C),

Title 28, United States Code, Section 2461(c), and Fed. R. Crim. P. 32.2, and in support thereof

submits the following:

        1.     On May 5, 2015, an indictment was returned charging defendant RODERICK

GROETZINGER with wire fraud violations pursuant to the provisions of 18 U.S.C. § 1343. The

indictment sought forfeiture to the United States of certain property pursuant to the provisions of

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

        2.     On April 4, 2017, pursuant to Fed R. Crim. P. 11, defendant RODERICK

GROETZINGER entered a voluntary plea of guilty to Count Three of the indictment.

        3.     Pursuant to the terms of his plea agreement, defendant RODERICK

GROETZINGER agreed that all right, title and interest that he may have in any property derived

from proceeds obtained, directly or indirectly, as a result of the offense of conviction is subject to

forfeiture.
   Case: 1:15-cr-00260 Document #: 262 Filed: 09/06/18 Page 2 of 3 PageID #:2269




       4.      The United States requests that this Court enter a preliminary order of forfeiture

against defendant RODERICK GROETZINGER as to funds in the amount of $2,022,989, because

the property constitutes and is derived from proceeds traceable to the offense of conviction.

       5.      21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), provides that if funds

to satisfy the personal money judgment entered against defendant RODERICK GROETZINGER,

as a result of any act or omission of the defendant:

               a.        cannot be located upon the exercise of due diligence;

               b.        have been transferred or sold to, or deposited with, a third-party;

               c.        have been placed beyond the jurisdiction of the Court;

               d.        have been substantially diminished in value, or

               e.        have been commingled with other property which cannot be divided without
                         difficulty;

the United States shall request that this Court order the forfeiture of any other property belonging

to defendant RODERICK GROETZINGER up to the value of the entered judgment amount, in

order to satisfy the money judgment entered by the Court.

       6.      The United States further requests that the terms and conditions of this preliminary

order of forfeiture entered by this Court be made part of the sentence imposed against defendant

RODERICK GROETZINGER and included in any judgment and commitment order entered in

this case against him.
   Case: 1:15-cr-00260 Document #: 262 Filed: 09/06/18 Page 3 of 3 PageID #:2270



        WHEREFORE, pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §

2461(c) and Fed. R. Crim. P. 32.2, the United States requests that this Court enter a preliminary

order of forfeiture as to the foregoing property in accordance with the draft preliminary order of

forfeiture which is submitted herewith.

                                                    Respectfully submitted,

                                                    JOHN R. LAUSCH, JR.
                                                    United States Attorney

                                                By: /s/Jennie Levin
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